                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  FT. WORTH DIVISION

 ROBERT (BOB) ROSS                              §
 Plaintiff, Counterclaim-Defendant              §
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                                                §
                                                §       Case No. 4:22-CV-00343
                                                §
 V.                                             §
                                                §
 ASSOCIATION OF PROFESSIONAL                    §
 FLIGHT ATTENDANTS, MCGAUGHEY,                  §
 REBER AND ASSOCIATES, INC., JULIE              §
 HEDRICK, ERIK HARRIS, LARRY                    §
 SALAS, JOSH BLACK                              §
 Defendants, Counterclaim Plaintiff.            §

           SECOND AMENDED CERTIFICATE OF INTERESTED PERSONS

       Pursuant to Fed. R. Civ. P.7.1 and LR 3.1(c), L.R 3.2(e), LR 7.4, LR 81.1(a)(4)(D) and

LR 81.2, Plaintiff/Counter-Defendant Robert “Bob” Ross provides the following information:

       For a nongovernmental corporate party, the name(s) of its parent corporation and any

       publicly held corporation that owns 10% or more of its stock (if none, state “None”):

              None.

       A complete list of all persons, associations of persons, firms, partnerships, corporation,

       guarantors, insurers, affiliates, parent or subsidiary corporation or other legal entities that

       are financially interested in the outcome of this case:

              1.      Association of Professional Flight Attendant (“APFA”);

              2.      Julie Hedrick, National President of APFA (“Hedrick”);

              3.      Erik Harris, National Treasurer of APFA (“Harris”);


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               4.      Larry Salas, National Vice-President of APFA (“Salas”);

               5.      Josh Black, National Secretary of APFA (“Black”);

               6.      McGaughey Reber and Associates, Inc d/b/a Diversified Credit Systems;

               7.      Members of, and individuals represented by the APFA; and

               8.      Robert “Bob” Ross, former National President of APFA (“Plaintiff

                       Counterclaim Defendant”).

Date: September 27, 2023                        Respectfully submitted,
                                                K.D. PHILLIPS LAW FIRM, PLLC

                                                By: /s/ Kerri Phillips
                                                     Kerri Phillips
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                                                     For Service of Filings:
                                                     notice@KDphillipslaw.com
                                                     ATTORNEY FOR PLAINTIFF
                                 CERTIFICATE OF SERVICE

        I certify that on this 27th day of September, 2023, a true and correct copy of the foregoing
document was served on the below listed counsels of record for Defendant/Counterclaim
Plaintiffs by means permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure
(“F.R.C.P.”).

       Jeff Bartos
       James Sanford
       Antonia Bird
       Charlette Matts
       Michael Rake
                                                                /s/ Kerri Phillips
                                                               Kerri Phillips




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